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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                        )
                                                  )
Plaintiffs,                                       )
                                                  )        Case No. 16-2105-JAR-JPO
v.                                                )
                                                  )
KRIS KOBACH, in his official capacity as          )
Secretary of State for the State of Kansas,       )
                                                  )
                 Defendant.                       )
                                                  )


     JOINT MOTION FOR AN ORDER HOLDING IN ABEYANCE PROCEEDINGS
              REGARDING ATTORNEYS’ FEES AND EXPENSES

        The parties, by and through undersigned counsel, pursuant to Fed. R. Civ. P. 54(d) and D.

Kan. Rule 6.1, hereby jointly move for the entry of an order holding in abeyance proceedings

regarding the award of attorney’s fees and costs in this action until 45 days from the date of final

resolution of any appeal, including any petition for a writ for certiorari in the U.S. Supreme

Court, filed in relation to this action. In support of this motion, the parties state:

        1.      The parties have consulted on this motion, and the motion is being filed jointly.

        2.      On June 18, 2018, this Court issued Findings of Facts and Conclusions of Law in

the cases of Bednasek v. Kobach and in Fish v. Kobach that, among other things, “K.S.A. § 25-

2309(l) and K.A.R. 7-23-15, violate § 5 of the NVRA and infringe on the right to vote under the

Fourteenth Amendment” and that “Defendant shall not enforce the DPOC law and

accompanying regulation against voter registration applicants in Kansas.” Doc. No. 542 at 108.

The Court entered judgment the next day, on June 19, 2018. Doc. No. 543. Defendant has

announced his intention to appeal to the United States Court of Appeals for the Tenth Circuit.

        3.      Pursuant to Fed. R. Civ. P. 54(d), a claim for attorney’s fees and related expenses



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must be filed no later than 14 days after the entry of judgment “[u]nless . . . a court order

provides otherwise.” Plaintiffs’ application for attorney’s fees and related expenses is currently

due on July 3, 2018.

        4.     The time for Plaintiffs to file an application for attorney’s fees has not yet expired.

        5.     The final amount of Plaintiffs’ fees request will depend on the time spent on the

anticipated appeal to the Tenth Circuit and any subsequent proceedings. Plaintiffs’ counsel,

moreover, may still be incurring fees in relation to verifying Defendant’s compliance with the

permanent injunction pursuant to this Court’s directive. Doc. No. 542 at 110. As a result, the

parties believe that the interests of justice, as well as interests of judicial economy, will be served

by holding all fees issues in abeyance until after all appeals filed in relation to this action are

exhausted.

        6.     Therefore, the parties respectfully request that this Court enter an order holding

all fees issues in abeyance until 45 days from the date of final resolution of any appeal, including

any petition for a writ for certiorari in the U.S. Supreme Court, filed in relation to this action.

        7.     No prior extensions have been sought or granted.

        WHEREFORE, the parties respectfully request that this Court enter an order holding in

abeyance proceedings regarding the award of attorney’s fees and related expenses in this action

until 45 days from the date of final resolution of any appeal, including any petition for a writ for

certiorari in the U.S. Supreme Court or decision by the U.S. Supreme Court, filed in relation to

this action.


Dated this 29th day of June, 2018

Respectfully submitted,

/s/ Lauren Bonds                                  /s/ Sophia Lin Lakin


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                                  CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on the 29th day of June, 2018, I electronically filed

the foregoing document using the CM/ECF system, which automatically sends notice and a copy

of the filing to all counsel of record.

                                               /s/ Lauren Bonds
                                               LAUREN BONDS (#27807)

                                               Attorney for Plaintiffs
